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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re:                                                      Chapter 11

    EPIC! CREATIONS, INC., et al., 1                            Case No. 24-11161 (BLS)

                       Debtors.                                 (Jointly Administered)

                                                                Re. D.I. 433, 474, & 723

                                          NOTICE OF SALE CLOSING

       PLEASE TAKE NOTICE that, on May 20, 2025, the United States Bankruptcy Court for
the District of Delaware entered the Order (I) Approving the Sale of Neuron Fuel, Inc.’s Assets
Free and Clear of Liens, Claims, Interests and Encumbrances, (II) Approving the Assumption and
Assignment of Executory Contracts and Unexpired Leases in Connection Therewith and (III)
Granting Related Relief [D.I. 723], (the “Sale Order”).2

        PLEASE TAKE FURTHER NOTICE that, on May 30, 2025, the sale as contemplated
in the Sale Order, closed.




1
             The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
             identification number, are: Epic! Creations, Inc. (9113); Neuron Fuel, Inc. (8758); and Tangible Play, Inc.
             (9331).
2
             Capitalized terms used but not defined herein shall have the meanings as set forth in the Sale Order.
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